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Idaho State Bar # 1367
Attorneys for Debtor

                           UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF IDAHO

 In re:                                               Case 18-01171-JDP

 VERNON K. SMITH, JR.                                 Chapter 11

                                   Debtor.


                                        WITNESS LIST

          COMES NOW the Debtor, and submits his Witness List for the hearings set for February

27-28, as follows:

   1. Vernon K. Smith, Jr.

   2. Noah Hillen, Personal Representative

   3. Tom Walker 1

   4. Debtor requests leave of Court and a continuance to be able to take the deposition of

Victoria Converse, Debtor’s sister, in or around Portland, OR, which is her residence.

   5. Debtor reserves the right of cross-examination of any/all of Hillen’s witnesses.

          DATED this 22nd day of February, 2019


          1
        Debtor understands that Hillen is not calling Mr. Byron. If Mr. Byron is called, then
Debtor will call Mr. Walker in response.

DEBTOR’S WITNESS LIST --1
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                                             LAW OFFICES OF D. BLAIR CLARK PC


                                             __/s/ _____________________________
                                             D. Blair Clark, Attorney for Debtors

                                CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of February, 2019, I caused to be served a true and
correct copy of the foregoing by ECF, to the following:

Allen Boyd Ellis on behalf of Creditor Joseph H. Smith
aellis@aellislaw.com

Kimbell D Gourley on behalf of Creditor Jones Gledhill Fuhrman Gourley PA
kgourley@idalaw.com, pulmer@idalaw.com; mingham@idalaw.com

Noah G. Hillen on behalf of Creditor Noah G. Hillen
ngh@hillenlaw.com, dlr@hillenlaw.com; llm@hillenlaw.com; sellassets@ecf.inforuptcy.com;
ID14@ecfcbis.com

Alex P McLaughlin on behalf of Creditor Noah G. Hillen
apm@givenspursley.com, litigation@givenspursley.com; jrt@givenspursley.com;
kad@givenspursley.com; tmh@givenspursley.com

David Wayne Newman on behalf of U.S. Trustee US Trustee
ustp.region18.bs.ecf@usdoj.gov

Randall A Peterman on behalf of Creditor Noah G. Hillen
rap@givenspursley.com, kad@givenspursley.com; wandawhite@givenspursley.com

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                                             __/s/___________________________________
                                             D. Blair Clark




DEBTOR’S WITNESS LIST --2
